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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS




    In re Sovos Compliance Data Security Incident       Case No. 1:23-cv-12100 (“Master Docket”)
    Litigation




                 PLAINTIFFS’ UNOPPOSED MOTION FOR PRELIMINARY
                     APPROVAL OF CLASS ACTION SETTLEMENT

          Plaintiffs, pursuant to Fed. R. Civ. P. 23(e)(1), submit this Unopposed Motion for

Preliminary Approval of Class Action Settlement, and respectfully request the Court enter an order

to:

          (1) preliminarily approve the Settlement1 entered into with Defendant Sovos Compliance,

LLC, finding the Court is likely to approve the Settlement as fair, reasonable, and adequate

pursuant to Fed. R. Civ. P. 23(e)(2);

          (2) conditionally certify the Settlement Class;

          (3) appoint Plaintiffs Sergei Stadnik, Julianne Yenca, James Lawler, and Tony Anderson

as Class Representatives;

          (4) appoint Mason Barney and Tyler Bean of Siri & Glimstad LLP and Jeff Ostrow of

Kopelowitz Ostrow P.A. as Class Counsel;



1
 All capitalized terms herein shall have the same meaning as those defined in the Settlement
Agreement and Releases, attached to the Memorandum in Support of Plaintiffs’ Unopposed
Motion for Preliminary Approval of Class Action Settlement as Exhibit A.
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        (5) approve the Notice Program and Notices and direct that Notice be sent to the Settlement

Class pursuant to the Notice Program and Fed. R. Civ. P. 23(e)(1);

        (6) approve the Claim process and Claim Form;

        (7) order the Agreement’s opt-out and objection procedures;

        (8) appoint Kroll, LLC as Settlement Administrator and directing Kroll to carry out the

duties and responsibilities of the Settlement Administrator specified in the Settlement;

        (9) stay all deadlines in the Action pending Final Approval of the Settlement;

        (10) enjoin and bar all members of the Settlement Class from continuing in any litigation

or asserting any claims against Sovos and the Released Parties arising out of, relating to, or in

connection with the Released Claims prior to the Court’s decision to grant Final Approval of the

Settlement; and

        (11) set a date for the Final Approval Hearing. Plaintiffs respectfully request the Final

Approval Hearing be set for the week of May 20, 2024, or a date as soon thereafter when the Court

is available.

        Defendant does not oppose this Motion. This Motion is based on the accompanying

Memorandum; the Agreement and exhibits thereto; the Joint Declaration of Class Counsel Mason

Barney and Jeff Ostrow filed herewith; the argument of counsel; all papers and records on file in

this matter; and such other matters as the Court may consider.

Dated: December 8, 2023                      Respectfully submitted,

                                             /s/ Jeff Ostrow
                                             Jeff Ostrow (Pro hac vice)
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                                           Counsel for Plaintiffs and the Settlement Class


                              CERTIFICATE OF SERVICE

       I hereby certify that on this the 8th day of December, 2023, a copy of the foregoing

document was electronically filed with the Clerk of Court using the CM/ECF system.

                                           /s/ Jeff Ostrow




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